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                                       Mr                     Daniel Zemel, Esq. (NY, NJ)


Zemel Law
Consumer Protection
                                                              660 BROADWAY
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                                                              Dz@zemellawllc.com




                                                           March 1st, 2022

Manager and/or Officer:
Radius Global Solutions, LLC.
7831 Glenroy Rd Ste 250
Edina, MN 55439-3117


       RE:    Service of Process - Jasmine Mhrez v. Radius Global Solutions, LLC.,
       Case #: HUD-L-000728-22




       Enclosed please find Summons and Complaint for the above referenced matter.




                                                 Very truly yours,


                                                 ^Daniel Zemel

                                                 Daniel Zemel, Esq.
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SUPERIOR COURT OF THE STATE OF NEW JERSEY
HUDSON COUNTY
                                                       X


JASMINE MHREZ,                                             CASE NO HUD-L-000728-22
                                  Plaintiff,
                                                            SUMMONS
                 - against -



RADIUS GLOBAL SOLUTIONS, LLC.,
                                  Defendant.
                                                       X
To the above-named Defendants:


       YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance on the Plaintiffs attorneys within thirty-five (35) days after the service of this
summons, exclusive of the day of service; and in case of your failure to appear or answer, judgment
will be taken against you by default for the relief as demanded in the complaint. The nature of this
action is negligence. The relief sought is damages. Upon your failure to appear, judgment will be
taken against you by default together with the costs of this action.


Dated: March 1st, 2022

                                               _/s/ Daniel Zemel
                                               Daniel Zemel, Esq.
                                               NJ ID#1 11402014
                                               Zemel Law LLC
                                               660 Broadway
                                               Paterson, New Jersey 07514
                                               T: (862) 227-3106
                                               Attorneys for Plaintiff



TO:    Radius Global Solutions, LLC.
       783 1 Glenroy Rd Ste 250
       Edina, MN 55439-3117
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dz@zemellawllc.com
Attorneys for Plaintiff



JASMINE MHREZ                                   )   SUPERIOR COURT OF NEW JERSEY
                                                )   HUDSON COUNTY
                Plaintiff,
                                                )
        vs.
                                                )   Case No.
                                                )
RADIUS GLOBAL SOLUTIONS, LLC.,                  )   COMPLAINT
                                                )
                Defendant.                      )
                                                )


        Plaintiff, Jasmine Mhrez (hereinafter “Plaintiff’) alleges:


                                 PRELIMINARY STATEMENT


1.   This is an action for damages arising from Defendant’s violations of the Fair Debt Collections


     Practices Act, 15 U.S.C. §1692 etseq. (hereinafter “FDCPA”).




                                 JURISDICTION AND VENUE


2.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.


3.   Venue is proper in this district under 28 U.S.C § 1 191(b).




                                             PARTIES


4.   Plaintiff is a natural person who at all relevant times has resided in Guttenberg, New Jersey


     and is a “consumer” as the phrase is defined under 15 U.S.C. § 1692(a) of the FDCPA.
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5.   Radius Global Solutions, LLC., (“RGS” “Defendant”), is a corporation that regularly conducts


     business in New Jersey. Defendant is a “debt collector” as the phrase is defined and applied

     under 15 U.S.C. §1692(a) of the FDCPA in that they regularly attempt to collect on debts


     primarily incurred for personal, family or household purposes.




                                     FACTUAL STATEMENT


6.   On a date better known to Defendant, Plaintiff Mhrez allegedly incurred a medical debt.


7.   The debt allegedly incurred was for personal, familial, and household purposes.


8.   The debt was then transmitted to RGS for collections.


9.   In an attempt to collect the debt, Defendant sent Plaintiff a collection letter dated November


     19th, 2021.

10. The letter was not sent from Defendant itself; Defendant utilized a third-party vendor to send


     the letter.

1 1. In doing so, Defendant disclosed Plaintiffs personal information to a third party in violation


     of the FDCPA, including the fact that Plaintiff owed a medical debt.




                                               COUNT I
            VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                              15 U.S.C. S 1692 g* reg.


12. Plaintiff repeats, re-alleges, and re-asserts the allegations contained in the above paragraphs


     and incorporates them as if specifically set forth at length herein.

13. Defendant’s actions are in violation of 15 U.S.C. § 1692c(b).


             WHEREFORE, Plaintiff, Jasmine Mhrez respectfully requests that this Court do the


     following for the benefit of Plaintiff:
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                        A. Enter judgment against Defendant for statutory damages pursuant to the


                            FDCPA;


                        B. Award costs and reasonable attorneys’ fees;


                        C. Grant such other and further relief as may be just and proper.




                                      JURY TRIAL DEMAND


Plaintiff demands a jury trial on all issues so triable.


Dated this March 1st, 2022.
                                                Respectfully Submitted,


                                                           /s/ Daniel Zemel
                                                           Daniel Zemel, Esq.
                                                           Zemel Law LLC
                                                           660 Broadway
                                                           Paterson, NJ 07514
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